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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 SERAFIM GEORGIOS KATERGARIS,

                                       Plaintiff,                        22 Civ. 7400 (PAE)
                        -v-
                                                                              ORDER
 CITY OF NEW YORK,

                                       Defendant.


PAUL A. ENGELMAYER, District Judge:

       Plaintiff Serafim Georgios Katergaris ("Katergaris") brings a due process claim under 42

U.S.C. § 1983 against defendant City ofNew York (the "City") based on its procedures for

imposing fines on property owners for violations of boiler inspection ordinances. Did. 28 ("First

Amended Complaint" or "FAC"). The City has moved to dismiss the FAC under Federal Rule

of Civil Procedure 12(b)(6), in part on the ground that Katergaris's § 1983 claim is time-barred

by the three-year statute of limitations for such claims. See Dkt. 32. The City argues that its

violation notice was mailed to Katergaris on March 3, 2015, starting the running of the three-

year limitations period. Id. at 4-5. In support, the City has filed a declaration of New York City

Department of Buildings ("DOB") employee Juan Ruiz setting out the DOB's procedures for

mailing boiler-related violation notices. See Dkt. 31. If Ruiz's account is credited, the City

argues, Katergaris is presumed under the "mailbox rule" to have received the DOB's mailing,

and absent evidence defeating this presumption, the limitations period ran in March 2018, years

before this suit was filed in August 2022. See Dkt. I; Dkt. 32 at 4-5.

       Where a defendant submits materials outside the pleadings for consideration on a Rule

12(b)( 6) motion to dismiss, the Court must either convert the motion to one for summary



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judgment under Rule 56 or exclude the additional materials and decide the motion based solely

upon the FAC. See Fed. R. Civ. P. 12(d). "[A] district court acts properly in converting a

motion for judgment on the pleadings into a motion for summary judgment when the motion

presents matters outside the pleadings, but the rule requires that the court give sufficient notice to

an opposing party and an opportunity for that party to respond." Hernandez v. Coffey, 582 F.3d

303,307 (2d Cir. 2009) (citation omitted).

       Such is the case here. On Katergaris's pleadings and cognizable associated materials, the

Court cannot resolve the City's potentially dispositive limitations defense. The availability of

that defense turns, or may tum, on facts not cognizable on a motion to dismiss, including facts

relating to the City's procedure for mailing, documenting, and tracking violation notices and the

circumstances surrounding Katergaris's receipt of the violation notice. Accordingly, with

respect to the issue of timeliness only, the Court converts the City's motion to dismiss to one for

summary judgment. The Court directs that (1) the parties conduct discovery on the issue of

timeliness byAugust 7, 2023; (2) any motion for summary judgment by the City on this ground

be filed by August 14, 2023; (3) any response by Katergaris to the City's motion be filed by

August 21, 2023; and (4) any reply by the City be filed by August 24, 2023. The Court will

thereafter rule on the summary judgment motion on this ground, and, if warranted, the other

ground(s) raised in the City's motion to dismiss.



       SO ORDERED.
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                                                              Paul A. Engelmayer
                                                              United States District Judge


Dated: July 17, 2023
       New York, New York

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